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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF KENTUCKY
                                    LOUISVILLE DIVISION


 UNITED STATES OF AMERICA,                                                           Plaintiff,

 v.                                                      Criminal Action No. 3:23-cr-23-DJH-2

 JENNIFER O’BANNON,                                                               Defendants.

                                            * * * * *
                            MEMORANDUM OF HEARING AND ORDER

       This matter came before the Court for a change-of-plea hearing on November 29, 2023,

with the following counsel participating:

       For the United States:        A. Spencer McKiness

       For Defendant:                John Casey McCall

The defendant was present. Counsel informed the Court that the parties had reached an agreement

for pretrial diversion, rather than the change of plea contemplated by the plea agreement.

Accordingly, and by agreement of the parties, it is hereby

       ORDERED that the change-of-plea hearing is CONTINUED. The Court will address the

parties’ pretrial-diversion agreement by subsequent order following entry of the agreement into

the record.

        November 29, 2023




Court Time: 00/05
Court Reporter: Dena Legg




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